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1                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
2                                  ATLANTA DIVISION
3
4       GINA SPEARMAN,
5              Plaintiff,
                                                        CIVIL ACTION FILE
6              vs.
                                                        NO. 1:20-cv-04981-CAP
7       BROKER SOLUTIONS, INC. d/b/a
        NEW AMERICAN FUNDING,
8
               Defendant.
9
10
11                                       VOLUME 2
12                              VIDEO DEPOSITION OF
13                                  GINA SPEARMAN
14                                  March 21, 2022
15                                     1:04 p.m.
16                            The Finley Firm, P.C.
17                            Building 14, Suite 230
18                               3535 Piedmont Road
19                                 Atlanta, Georgia
20             Robyn Bosworth, RPR, CRR, CRC, CCR-B-2138
21
22
23
24
25

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1       APPEARANCES OF COUNSEL:
2       On behalf of the Plaintiff:
3                       MARYBETH V. GIBSON, ESQ.
4                       TRAVIS C. HARGROVE, ESQ. (via Zoom)
5                       N. NICKOLAS JACKSON, ESQ. (via Zoom)
6                       The Finley Firm, P.C.
7                       3535 Piedmont Road
8                       Building 14, Suite 230
9                       Atlanta, Georgia                 30305
10
11      On behalf of the Defendant:
12                      HENRY M. PERLOWSKI, ESQ.
13                      CHASE OGLETREE, ESQ. (via Zoom)
14                      Arnall Golden Gregory LLP
15                      171 17th Street, N.W.
16                      Suite 2100
17                      Atlanta, Georgia                 30363
18
19      Also Present:
20                      Andrew Westle, Esq. (via Zoom)
21                      Bryan Robinson, videographer
22
23
24
25

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1                      THE VIDEOGRAPHER:             We are on the record.
2       The time is 1:04 p.m. on March 21st, 2022, and this
3       is the continuation of the video deposition for Gina
4       Spearman.
5                      Would counsel present please identify
6       themselves for the record.
7                      MS. GIBSON:         Yes.      This is MaryBeth Gibson
8       at The Finley Firm, and I represent Ms. Spearman.
9                      MR. PERLOWSKI:          Henry Perlowski, Arnall,
10      Golden & Gregory, and I represent New American
11      Funding.
12                     MR. HARGROVE:          Travis Hargrove attending
13      remotely on behalf of Ms. Spearman.
14                     MR. JACKSON:         And Nick Jackson attending
15      remotely on behalf of Ms. Spearman.
16                     MR. OGLETREE:          And Chase Ogletree
17      attending remotely on behalf of NAF.
18                     THE VIDEOGRAPHER:             Thank you, Counsel.
19                     Will the court reporter please swear in
20      the witness.
21                                  GINA SPEARMAN,
22      having been first duly sworn, was examined and
23      testified as follows:
24                                    EXAMINATION
25      BY MR. PERLOWSKI:

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1              Q       Good afternoon, Ms. Spearman.                  How are
2       you?
3              A       I'm good.       Thank you.
4              Q       Good.
5                      Same rules as last time.                If you have
6       any -- if for any reason you don't understand my
7       questions, please let me know.                    I'll be happy to
8       rephrase it until you do.                Okay?
9              A       Sure.
10                     MR. PERLOWSKI:          Same stipulations?
11                     MS. GIBSON:         Same stipulation.
12                     MR. PERLOWSKI:          Okay.       Great.
13      BY MR. PERLOWSKI:
14             Q       Ms. Spearman, do you understand, sitting
15      here today, that you've now brought a fraud claim
16      against NAF with respect to your second amended
17      complaint?
18             A       Yes.
19             Q       Do you agree that fraud is a serious
20      accusation?
21             A       What do you mean by "serious"?
22             Q       I mean serious how -- the common
23      understanding of the word.                 Not casual, serious.
24                     MS. GIBSON:         Objection, form, foundation.
25             A       It is not casual, no.

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1       BY MR. PERLOWSKI:
2              Q       How do you contend that you were
3       defrauded, Ms. Spearman?
4                      MS. GIBSON:         Objection, form.
5              A       I was led to -- do you mean in regards to
6       the marketing expenses and pricing exceptions?
7       BY MR. PERLOWSKI:
8              Q       I'm asking how you contend you were
9       defrauded, Ms. Spearman.               You brought a fraud claim;
10      I'm asking how you contend you were defrauded.
11                     MS. GIBSON:         Objection, form.
12             A       Because my compensation was reduced, and
13      expenses were taken out of my compensation for what
14      I believe to be a false reason, and I was assured it
15      would be for a very short period of time, which it
16      was not.
17      BY MR. PERLOWSKI:
18             Q       When you say expenses were taken out of
19      your compensation, what are you referring to?
20             A       Marketing expenses and pricing exceptions.
21             Q       And marketing expenses that the Southeast
22      region chose to incur were reduced from the
23      Southeast region's profit as of March 1st?
24                     MS. GIBSON:         Objection, form and
25      foundation.

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1       BY MR. PERLOWSKI:
2              Q       Let me rephrase the question.                  Marketing
3       expenses, if they were incurred by the Southeast
4       region, were charged against the region as of
5       March 1st of 2019?
6              A       No, beginning in February of 2019,
7       marketing expenses that were discussed prior to us
8       joining New American Funding was the reason and the
9       basis by us incorporating a marketing budget into
10      the agreement so that we -- that NAF agreed to the
11      marketing expenses that would be done on behalf of
12      the Southeast region.              But, no, it was actually
13      deducted from our compensation on the monthly
14      recaps.
15             Q       Did that begin as of March 1st of 2019?
16             A       It was in February or March.                  I cannot
17      remember the exact date.
18             Q       You said that expenses were taken out of
19      comp for a false reason.               What was that false
20      reason?
21             A       We were informed at the leadership meeting
22      in February that NAF had misallocated $30 million,
23      and that they were under financial hardship because
24      of this, that the retail divisions, including the
25      Southeast, although we had thought they all made

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1       money, it was discovered because of this
2       misallocation that they were not profitable, and as
3       a result, they would need to reduce our
4       compensation.
5              Q       Who told you that?
6              A       Rick Arvielo, Patty Arvielo, Christy
7       Bunce, Jan Preslo, and Jon Reed.
8              Q       And this was all at the leadership meeting
9       in February of 2019?
10             A       Yes.
11             Q       Okay.     What were you told was
12      misallocated?
13             A       We --
14                     MS. GIBSON:         Objection, form and
15      foundation.
16                     Go ahead.
17             A       We weren't given a lot of specifics other
18      than there were expenses that the corporation
19      incurred that were not allocated to the regions and
20      that the number $30 million was reiterated several
21      times, that --
22      BY MR. PERLOWSKI:
23             Q       Okay.
24             A       -- it was significant.
25             Q       So as you understood it, expenses were

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1       incurred by NAF, but those expenses were not
2       allocated against the regional finances -- the
3       finances for the regions?
4              A       It wasn't clear, you know, whose expenses
5       they were, if they were from other divisions, other
6       companies, other channels.                 It was just simply there
7       were expenses not allocated properly that caused a
8       huge swing in the bottom line P&Ls for the retail
9       division and, of course, more specifically that we
10      were concerned about, the Southeast division.
11             Q       Did you ever learn subsequent to the
12      leadership meeting -- either at the leadership
13      meeting or subsequent to it whether those
14      expenses -- the expenses that were misallocated,
15      whether they were actually incurred?
16             A       I was never given any information that
17      they were incurred.
18             Q       Were you ever given any information that
19      the expenses that were said to be misallocated were
20      not incurred?
21             A       I was never given any further information
22      after the leadership meeting.
23             Q       One way or the other; is that correct?
24      I'm just trying to understand whether --
25             A       Sure.

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1              Q      So you hear at the leadership meeting that
2       expenses were misallocated.                  Okay?
3              A      Uh-huh.
4              Q      So would you agree with me that
5       misallocation, just in a common understanding of
6       what that means, is that something's put in the
7       wrong place?
8                     MS. GIBSON:         Objection, form.
9       BY MR. PERLOWSKI:
10             Q      Would you agree with me that mis- -- if
11      you misallocate something, it generally means that
12      it's in the wrong place?
13             A      It's in a different place.
14             Q      Okay.      Did you learn either at the
15      leadership meeting or thereafter, whatever expenses
16      were misallocated, did you ever learn what place
17      they were in?
18             A      No.
19             Q      Ms. Spearman, at the time of the
20      leadership meeting -- and you were deposed for quite
21      a while when we did this the last time, and I know
22      you -- I recall you testifying generally, and your
23      testimony will speak for itself, that occasionally
24      Mr. Reed would share some financial information with
25      you and Ms. Allison.

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1                     What I'm trying to understand is what you
2       in your position with NAF as of February of '19,
3       what you had access to.
4                     So from a financial reporting perspective
5       as of February 2019, what did you have access to?
6              A      We had access to a platform called Kevlar
7       that was primarily for -- you know, we could check
8       pricing exceptions and things like that.                        We were
9       provided, I would say, an occasional P&L that was
10      more -- because we weren't paid based off of a P&L,
11      it was almost more of an FYI at maybe a biannual,
12      you know, leadership meeting or something going over
13      the Southeast division.               It was generally presented
14      for the purpose of saying what a great job we're
15      doing, look how profitable you are.
16                    But I was generally given those -- we were
17      given those in person, you know, when we were at a
18      meeting or something.
19             Q      So the P&Ls that you mentioned were
20      occasionally given to you, who do you recall
21      typically would give those to you?
22             A      To my recollection, Jon Reed.
23             Q      The P&Ls that were -- and I'll get to the
24      Kevlar in a moment.            I'm not asking about Kevlar for
25      right now.

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1                     The P&Ls that were occasionally given to
2       you -- let's assume that they were given to you by
3       Mr. Reed -- were they regional -- were they
4       Southeast region P&Ls?              Were they company-wide P&Ls?
5       Were they outside retail P&Ls?
6              A      Southeast.
7              Q      Let's go to -- you mentioned earlier that
8       you had access to Kevlar.                This may be some
9       terminology, but I want to ask you if you recall
10      whether you had -- did you have access to CM1 in
11      Kevlar?
12                    MR. PERLOWSKI:           That's C-M-1.
13                    MS. GIBSON:         Objection, foundation.
14                    Go ahead.
15      BY MR. PERLOWSKI:
16             Q      Sure.
17             A      I don't remember what we had access to in
18      Kevlar as it relates to P&Ls.                   I really just
19      remember Kevlar being more so for the purpose of
20      checking pricing.           But the P&Ls that I recall
21      seeing, I do remember the bottom line -- what I
22      would consider to be the bottom line number was
23      referenced as CM1.
24             Q      So you may have just answered my
25      question -- my next question, but let me make sure I

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1       understand it.
2                     Do you believe that when you had access to
3       Kevlar that you had access to P&Ls?
4              A      I do not recall ever viewing or retrieving
5       a P&L from Kevlar.
6              Q      In your answer a couple questions ago, I
7       think you did mention CM1 in your answer.                        The
8       record obviously will speak for itself.
9                     But do you recall whether you had access
10      to CM1 in Kevlar?
11             A      I do not recall.
12             Q      Do you recall whether you had access to
13      CM2 in Kevlar?
14                    MS. GIBSON:         Objection, foundation.
15             A      I don't recall.
16      BY MR. PERLOWSKI:
17             Q      Okay.      Do you recall whether you had
18      access to CM3 in Kevlar?
19             A      I don't recall that.
20             Q      Okay.      You mentioned that Mr. Reed would
21      typically give you the Southeast region P&Ls when
22      you were given a physical document.
23                    Do you recall ever receiving, prior to the
24      leadership meeting, company-wide P&Ls that would
25      show, for example, how profitable NAF was as a whole

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1       at a given time or in a given year?
2               A     No.
3               Q     So I'm going to use 2018 as an example
4       because you know the leadership meeting was in
5       February '19.
6                     So as of the end of 2018, were you given
7       any information that demonstrated how profitable NAF
8       was as a whole?
9               A     No.
10              Q     Did you have any knowledge prior to the
11      leadership meeting as to what NAF's profitability
12      was shown in CM1 as of the end of 2018?
13              A     No.     My recollection late in 2018,
14      possibly November, we were there for regional
15      meetings, and I just remember the general consensus
16      was positive, that the entire retail division was
17      doing very well, everyone was very pleased, and the
18      Southeast was -- by far led the company in
19      profitability, but that all the regions were doing
20      well.
21              Q     Get to that in a second.
22                    MR. PERLOWSKI:           Could you please read back
23      my last question?
24                    (The record was read by the reporter as
25      follows:

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1                    "Q       Did you have any knowledge prior to
2              the leadership meeting --")
3                     MR. PERLOWSKI:           Okay.
4       BY MR. PERLOWSKI:
5              Q      Did you have any knowledge prior to the
6       leadership meeting as to what NAF's profitability
7       for 2018 was showing in CM2?
8              A      No.
9              Q      Did you have any knowledge prior to the
10      leadership meeting as to what NAF's profitability
11      was showing in CM3 for 2018?
12             A      No.
13             Q      So when it was, as you testified, it was
14      explained to you that certain expenses were incurred
15      but weren't allocated to the regions, were you told
16      what kind of expenses were incurred by NAF but
17      weren't being allocated to the regions?
18             A      No.     And the P&Ls that we did see had all
19      your usual and customary expenses.
20             Q      When you said the P&Ls that you did see,
21      what are you referring to?
22             A      When I mentioned earlier from time to time
23      Jon Reed or Christy Bunce would share a P&L with us,
24      I had seen P&Ls throughout my career, so the
25      expenses that were on the P&L were the usual and

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1       customary expenses.            So it wasn't as if anything
2       were missing, so that's why it was pretty much
3       alarming to all of us at the meeting that there
4       would be expenses that had not been allocated to our
5       regions.
6              Q      When you say the P&Ls that you were shown
7       had all of the customary expenses, you mean in terms
8       of the categories of expenses that are listed on the
9       P&L?
10                    MS. GIBSON:         Objection, form.
11             A      Categories, and I would say the actual
12      amounts were industry -- pretty industry norms.
13      BY MR. PERLOWSKI:
14             Q      Did you ever -- did you ever have any --
15      were you ever given any detail behind the amounts
16      that were shown in the P&Ls that were given to you?
17                    So, in other words, if you were given a
18      P&L by Mr. Reed --
19             A      Uh-huh.
20             Q      -- P&L has various numbers allocated to
21      accounts, were you given any detail behind those
22      numbers to show what they represented?
23             A      Only if we asked.
24             Q      Okay.      And did you ask?
25             A      I can't remember any specific times, but I

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1       do know that on occasion, we asked for backup on
2       certain line items, but I could not remember
3       specifics.
4                      I remember there being discussion about
5       the fact that there wasn't a system to allow us to
6       easily look at the backup, that it had to be
7       manually -- had to be asked for and manually
8       provided.
9               Q      Okay.      Did you ask for backup at the
10      February '19 leadership meeting for the expenses
11      that were incurred but were not allocated to the
12      regions?
13              A      We did not.
14              Q      So to your knowledge at the leadership
15      meeting, you didn't have any understanding as to
16      whether NAF's profitability was shown as being
17      different in CM1 versus CM2 versus CM3.
18                     You didn't have any knowledge one way or
19      the other, correct?
20                     MS. GIBSON:          Objection, form and
21      foundation.
22              A      No.
23      BY MR. PERLOWSKI:
24              Q      At the leadership meeting in terms of
25      NAF's actual financial position company-wide, what

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1       were you told?
2                     At 2018's financial position company-wide,
3       what were you told?
4              A      At the meeting?
5              Q      Yes.
6              A      That the financials that had been provided
7       to date did not have all -- the misallocation of
8       $30 million that had not been allocated to the
9       regions.      That NAF was in -- on financial hard times
10      and that they were asking -- they were telling the
11      regionals that they would have to reduce their
12      compensation for the marketing expenses and pricing
13      exceptions.        And that they were asking for our
14      cooperation in this and that it would only be for a
15      short period of time because they were going to hire
16      a CFO because to date at that point they did not
17      have a CFO.        And they felt as if some of the
18      financial issues with this misallocation and other
19      things were the result of not having someone in that
20      role, and that they were going to hire one to
21      rightsize the company, and that things would go back
22      to normal as soon as they were able to do this.
23             Q      Okay.      Let me go back.
24                    Were you ever given, for example, a
25      number, like, as of the end of 2018, NAF's profit or

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1       loss is X dollars?
2                     Were you ever given a number at the
3       leadership meeting?
4              A      No.
5              Q      Did you have an understanding at the
6       leadership meeting as to whether NAF was profitable
7       or not in 2018?
8                     Not -- I understand what you testified
9       about financial hard times, but I'm just trying to
10      understand.         Did you have an understanding whether
11      NAF made money or lost money in 2018?
12             A      They were representing that although in
13      December when they closed out the books they were
14      profitable that they were now not profitable was
15      what they represented.              In February they represented
16      that they were not profitable, whereas they thought
17      they had been.
18             Q      Do you have any reason to believe whether
19      that understanding that NAF -- was incorrect?
20                    The understanding that NAF was not
21      profitable in 2018, in February of '19, do you have
22      any understanding as to whether that was not true?
23                    MS. GIBSON:         Objection, form.
24                    Go ahead.
25             A      It was very hard to believe.

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1       BY MR. PERLOWSKI:
2              Q      Okay.
3              A      It was hard to believe for all of the
4       regionals given the fact that the COO, the EVPs,
5       everyone was shocked by this information.                        So it
6       made it hard to believe that they weren't
7       profitable.
8              Q      You said that you were told that the
9       regions were being asked -- and this is all regions,
10      right, were being asked for their cooperation?
11             A      Yes.
12             Q      You were told that they were asking for
13      cooperation for a period of -- a short period of
14      time until NAF hired a CFO?
15             A      Correct.
16             Q      Were you told anything in the leadership
17      meeting as to what the status of that CFO search
18      was?
19             A      That it was their top priority, they had
20      several candidates, and that, you know, they were
21      going to do it as quickly as possible.
22             Q      Were you given a -- so as of the
23      leadership meeting, you understood that the CFO
24      search had already begun?
25             A      I believe so.

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1              Q      At the leadership meeting, did you have an
2       understanding that NAF had already identified
3       candidates for the CFO position?
4              A      I can't recall if it was at the meeting or
5       shortly thereafter that it was communicated to us
6       that they had candidates, and they quickly hired
7       someone, so I can't say for sure --
8              Q      You mean --
9              A      -- if they mentioned it at the meeting or
10      not.
11             Q      Sorry to interrupt.
12                    You mean quickly hired someone after the
13      leadership meeting?
14             A      Uh-huh.
15             Q      Mr. Frommert?
16             A      Correct.
17             Q      Okay.
18             A      There was obviously a lot of concern by
19      all the regionals and the executives about what was
20      happening, you know, was this even accurate since
21      they didn't have a CFO, was it possible that, you
22      know, this -- this loss that they believe they now
23      had that was resulting in them needing to, you know,
24      reduce all of our compensation, you know, was it
25      accurate given -- you know, maybe there's just an

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1       error in the accounting.
2              Q      Right.
3                     Did you ever learn prior to your
4       resignation from NAF whether there was an error in
5       the accounting that -- we'll just leave it at that.
6              A      I was never given any proof
7       documentation-wise.            There was lots of conversation
8       amongst regionals, amongst -- once Scott came on and
9       started working on the new comp plan, there was much
10      conversation about that things were not done
11      correctly and should be done differently, those
12      sorts of things.
13             Q      Were you ever given any information after
14      the leadership meeting that led you to believe that
15      NAF's statements that it was not as profitable as it
16      thought it was was incorrect?
17                    MS. GIBSON:         Objection, form.
18             A      Can you give -- can you say the question
19      again?
20      BY MR. PERLOWSKI:
21             Q      Sure.
22                    So you testified at the February
23      leadership meeting you were told that NAF was not as
24      profitable as NAF thought it was --
25             A      Right.

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1               Q     -- right?
2                     After the leadership meeting, were you
3       ever given any indication -- were you ever given any
4       information that led you to believe that NAF's
5       statements that it wasn't as profitable as it
6       thought it was were false when they were made?
7                     MS. GIBSON:         Objection, form.
8                     Go ahead.
9               A     NAF did not provide me with any
10      information.        Again, applying common sense, general
11      industry norms, can't speak for the company at
12      large, what I can speak to is that the Southeast
13      region, based on our book of business, the volume of
14      business, should have been highly profitable.
15      BY MR. PERLOWSKI:
16              Q     Okay.      But that wasn't my question.
17                    My question was specific:                 Were you given
18      any information from NAF after the February
19      leadership meeting that led you to believe that
20      NAF's statement that it was not as profitable as it
21      thought it was was false when that statement was
22      made?
23                    MS. GIBSON:         Objection, form, asked and
24      answered.
25              A     And when you say from NAF --

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1       BY MR. PERLOWSKI:
2              Q      Yes.
3              A      -- who do you mean?
4              Q      Anyone.
5              A      There was much conversation around -- from
6       regionals that -- no facts.                  I mean, it was just
7       simply that the expenses that maybe were now trying
8       to be allocated to the regions weren't really retail
9       expenses, they were other businesses or other
10      channels, and that they didn't -- they weren't
11      incurred by the regions.
12             Q      When you're referring to other businesses,
13      are you referring to other businesses within NAF
14      aside from retail?
15             A      Yes.
16             Q      Okay.      When you say other channels, are
17      you also referring to other channels within NAF
18      that's not retail?
19             A      Correct.
20             Q      Okay.      So is it fair to say then that the
21      conversation or the speculation was that expenses
22      that were being incurred outside of retail were
23      being allocated to retail?
24                    MS. GIBSON:         Objection, form and misstates
25      testimony.

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1                     Go ahead.
2                     MR. PERLOWSKI:           Please repeat the
3       question.
4                     (The record was read by the reporter as
5       follows:
6                    "Q       So is it fair to say then that the
7              conversation or the speculation was that
8              expenses that were being incurred outside of
9              retail were being allocated to retail?")
10                    MS. GIBSON:         Same objection.
11             A      There was that speculation amongst many
12      regionals.
13      BY MR. PERLOWSKI:
14             Q      Did you ever receive any specific
15      information that confirmed whether that speculation
16      was, in fact, true with respect to any specific
17      expense?
18             A      We were never given any detail -- of the
19      $30 million that was misallocated, we were never
20      given any detail of those expenses.
21             Q      You mentioned the cooperation was going to
22      be for a short period of time, that NAF was going to
23      hire a CFO, was going to sort of rightsize the
24      company.
25                    When were you told when that sort of --

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1       the cooperation for the short period of time, when
2       were you told it was going to end or the request for
3       cooperation was going to end?
4              A      Most of the conversation around the short
5       time frame came from Rick and Patty Arvielo but
6       primarily Patty.           It was discussed a lot on the trip
7       that Rick and Patty made to Atlanta to visit with
8       Kelly and I after the leadership meeting to reassure
9       us that they were going to get their
10      accounting/financial issues resolved, and that --
11      that's when the 90 days was mentioned several times,
12      that they believed it would be for a period of 90
13      days that we would absorb the pricing exceptions and
14      marketing costs.
15             Q      Okay.      So the conversations that you just
16      referenced, Ms. Spearman, these were in the meetings
17      in Atlanta that followed the leadership meeting?
18             A      Yes.
19             Q      Okay.      So let me just sort of stick to the
20      leadership meeting discussions first.
21             A      Sure.
22             Q      So I just want to compartmentalize when
23      certain conversations occurred.
24                    So at the leadership meeting itself, the
25      February '19 leadership meeting, were you -- at that

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1       meeting, you were told that the cooperation was
2       being requested for a short period of time?
3              A      Correct.
4              Q      Okay.      At that meeting, were you given any
5       indication as to how long that period of time might
6       be at the leadership meeting?
7              A      I cannot recall if I was given a specific
8       date then.
9              Q      Okay.      Okay.      Refresh my recollection,
10      Ms. Spearman, as to how the meetings in Atlanta --
11      when did those occur relative to the leadership
12      meeting, like, just in terms of time frame?
13             A      I am not certain.              I believe it's in the
14      e-mails that we've shared in discovery, but it was
15      in the March to April time frame.
16             Q      Okay.
17             A      I would say within 60 days or so of the
18      leadership meeting.
19             Q      So you mentioned in your prior answer in
20      the trip in Atlanta, whenever that occurred,
21      March-April of '19, that Rick Arvielo and/or Patty
22      Arvielo referenced 90 days.
23                    What did they say?
24             A      Yes.      Sorry, I was nodding instead of
25      saying "yes."

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1               Q     Sorry.       I -- I saw that and didn't even
2       think twice of it.
3               A     Sorry.       My answer is "yes" to that.
4               Q     Yes.
5               A     And we were very concerned, "we" being
6       Kelly and I.
7               Q     Right.
8               A     All the regionals were concerned, but
9       obviously I know a lot more about mine and Kelly's
10      experience.        And we were very concerned about, you
11      know, the stability of the company, A, and, B, you
12      know, the fact that if our book of business wasn't
13      profitable here, that was a big concern.
14                    But we wanted to be part of the solution
15      if it was for a temporary period of time.                        You know,
16      we wanted to make things work.                    We had a lot
17      invested, time and money.                We had brought so many
18      people over, over a hundred people.                     We were up to
19      over 200 employees at this point, referral partners,
20      everything.        So we were very vested in making it
21      work.
22                    So when they came into town, they were
23      there, I believe, to reassure us that they were
24      working very quickly to get it resolved and that
25      things would go back to normal.                    And I interpreted

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1       that to mean we would go back to normal on our
2       normal comp plan whereby we had our marketing budget
3       and they were absorbing the marketing -- the pricing
4       exceptions as they had up to that point.
5                     MR. PERLOWSKI:           Could you please read my
6       question back?
7                     (The record was read by the reporter as
8       follows:
9                    "Q       So you mentioned in your prior answer
10             the trip in Atlanta, whenever that occurred,
11             March-April of '19, that Rick Arvielo and/or
12             Patty Arvielo referenced 90 days.                     What did
13             they say?")
14      BY MR. PERLOWSKI:
15             Q      Okay.      So you told me a lot about what
16      your understanding was, but I want to understand --
17             A      What they said?
18             Q      -- what they said.
19             A      They said, hang in there with us, we're
20      going to get this resolved, and this is only going
21      to last for 90 days with you having to absorb these
22      costs.
23             Q      So was it your understanding that it was
24      90 days from the day of your conversation with them?
25             A      I don't know what date they meant.

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1              Q      Okay.      So when they said it'll be 90 days
2       that you'll have to absorb these costs, your
3       understanding was that for at least for 90 days
4       going forward, the Southeast region was going to
5       have to continue to absorb the marketing expenses
6       and pricing exceptions?
7              A      I don't know how to answer that.                     I don't
8       know -- I can't speak to what they --
9              Q      No, I'm trying to understand what you --
10      what you understood.
11                    So whenever that conversation occurred,
12      was it your understanding that for the next 90 days,
13      you were going to have to incur the marketing
14      expense and pricing exception costs?
15             A      The conversations were this is going to be
16      temporary, and the 90 days was used as a frame of
17      reference for temporary.               But there was never, like,
18      an end date discussed or a start date, for that
19      matter.
20             Q      Was it your understanding that during the
21      temporary period of time that the Southeast region
22      was going to have to absorb the marketing expense
23      and pricing exception costs?
24             A      Was it my understanding that we were going
25      to have to absorb them?

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1              Q      During the temporary period of time.
2              A      Yes.
3              Q      Okay.      Now, when Mr. -- when the meeting
4       with the Arvielos happened in Atlanta, was a CFO
5       hired at that time yet, if you know?
6              A      I don't recall.
7              Q      Okay.      When the -- you mentioned that
8       the -- and, again, your testimony will speak for
9       itself, but you said that the 90 days was kind of a
10      frame of reference for the temporary period of time.
11      I think that's essentially what you said.
12                    Was there any discussion at the time as
13      to, like, what things needed to happen, you know,
14      over the next weeks and months to sort of convert --
15      you know, actually end the period of time where the
16      regions were going to be absorbing these costs?
17             A      It wasn't really clear, just that they
18      needed help rightsizing the company, and they felt
19      like that was going to be an adequate amount of time
20      for them to do so.
21             Q      They were projecting what they thought was
22      going to be an adequate amount of time to do that,
23      to rightsize the company, is that what you
24      understood?
25             A      You'd have to ask them.

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1              Q      Okay.      Did you ever have a conversation
2       with the Arvielos about whether the costs that the
3       regions were going to have to be absorbed would ever
4       be paid back to the regions?
5              A      No.
6              Q      Was there any discussion at the leadership
7       meeting in February of '19 as to whether any of the
8       costs that the region were going to absorb would
9       ever be paid back to the regions?
10             A      No.
11             Q      Did you ever approach anyone at NAF, let's
12      say 90 days after your meeting with the Arvielos,
13      whenever that occurred?               So if the meeting was in
14      March, it would be sometime in June; if the meeting
15      was in April, it would be sometime in July.
16                    After 90 days from that meeting, did you
17      ever approach anyone at NAF about why the policy
18      change with respect to marketing expenses and
19      pricing exceptions was still in place?
20             A      Yeah, there's various e-mails on the
21      subject.
22             Q      And what you were you told?
23             A      Once Mr. Frommert was hired, it was --
24      much of the conversation was about moving to the
25      different compensation model, that it would still

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1       have an override component and that it would have a
2       profit component.           And the conversations were around
3       we're getting that together as quickly as possible,
4       and your marketing budget and pricing exceptions
5       would be reinstated with that new compensation
6       structure.
7              Q      At the February '19 leadership meeting,
8       was there any discussion about moving to a profit
9       and loss compensation model?                  This is at the
10      February '19 leadership meeting.
11             A      I believe there were regionals maybe --
12      best of my recollection -- I can't be sure -- I
13      believe there were regionals that maybe discussed
14      that type of model, but that wasn't the purpose of
15      the meeting.        The meeting -- purpose of the meeting
16      was to discuss the misallocation and to cut our
17      compensation.
18             Q      So at -- understanding that there were
19      discussions, you know, that there were regional
20      discussions -- and I'm sure people were talking to
21      each other.        I mean, human nature, big changes are
22      made, people are going to talk to each other.
23                    But from NAF announcing changes to the
24      regions, did NAF announce at the February leadership
25      meeting that it was going to be changing the

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1       compensation model going forward to include a profit
2       and loss component?
3              A      I don't recall.
4              Q      So you mentioned that after Mr. Frommert
5       was hired, the discussion sort of veered into --
6       "veered" is my word, not yours, but veered into
7       moving to a different compensation model.
8                     At that time when that was being
9       discussed, did you ever say, okay, but it's been --
10      you know, it's been more than 90 days that our
11      marketing expenses, pricing exceptions, that we're
12      absorbing those, are you going to, you know,
13      reinstate the prior policy while you're looking at
14      this new compensation model?
15                    MS. GIBSON:         Objection, form.
16      BY MR. PERLOWSKI:
17             Q      Did you ever say anything like that?
18             A      Many times.
19             Q      And what were you told?
20             A      We're working on it.                We'll get back to
21      you.
22             Q      After the February leadership meeting, did
23      anyone ever tell you that NAF was going to pay the
24      regions' marketing expenses as it had done before
25      the leadership meeting?

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1              A      Yes.
2              Q      Who?
3              A      Christy, Jan, Jon, Rick and Patty.
4              Q      Tell me -- tell me what they said.
5              A      What I've already stated, that we are
6       working on clearing up and cleaning up our
7       accounting.        We just need your help for a temporary
8       period of time, and things will go back to normal.
9              Q      Okay.      Other than saying things would go
10      back to normal, did anyone ever tell you after the
11      February '19 leadership meeting that NAF was, in
12      effect, reinstating its prior policy with respect to
13      marketing expenses?
14                    MS. GIBSON:         Objection, asked and
15      answered.
16             A      They stated on many occasions that they
17      would go back to the prior policy.
18      BY MR. PERLOWSKI:
19             Q      When?      As of when?
20             A      When did they say it, or when did they say
21      it was going back into effect?
22             Q      The latter.
23             A      They never gave a date.
24             Q      Okay.      As of March 1st of 2020, how did
25      NAF handle regional marketing expenses?

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1              A      I'm sorry, can you repeat the question?
2              Q      Yeah.
3                     So we know that in March -- on March 1st
4       of 2020, shortly before you resigned, a new
5       compensation model was put into effect.
6              A      Uh-huh.
7              Q      Under that new model, how were regional
8       marketing expenses handled?
9              A      From my memory, to the best of my
10      recollection there was a budget given for marketing
11      expenses, and anything exceeding that budget was
12      then a part of the split of profitability, which, in
13      our case was, like, a 50-50 split.
14             Q      And as of March 1st of 2020, how were
15      pricing exceptions handled?
16             A      To the best of my memory, again, a budget
17      or a tolerance was put into place, and anything that
18      exceeded that would then be a shared expense between
19      NAF and Kelly and myself, which was 50-50.
20             Q      With respect to marketing expenses, it was
21      also going to be a shared expense if there was an
22      overage of the budget?
23             A      Yes.
24             Q      And the shared expense would be between
25      NAF and the region?

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1              A      Yes.      I think you have a copy of the
2       agreement.       I think it's spelled out.
3              Q      So after the leadership meeting in
4       February of 2019, did you and Ms. Allison ever
5       discuss whether you were going to continue to incur
6       marketing expenses on behalf of the region?
7              A      We discussed that we had to.                   It was
8       commitments that had been made to loan officers and
9       referral partners, so there really was no choice.
10             Q      Did you discuss whether you were going to
11      reduce any of those commitments?
12             A      Not that I recall.
13             Q      Did you discuss whether you were going to
14      reduce any -- when I say "discretionary marketing
15      expense," I don't mean, like, okay, you've made a
16      contractual commitment that you're going to spend,
17      you know, $30,000 on a specific date.                      That's a --
18      I'm not talking about a contractual commitment.
19                    Discretionary expense, I mean, like, if I
20      go to the mall after we leave this deposition today,
21      I can decide whether I want to buy something or not,
22      right?
23                    Did you ever have any discussion with
24      Ms. Allison about whether you were going to reduce
25      any discretionary marketing expenses after the

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1       leadership meeting?
2                     MS. GIBSON:         Objection, form and
3       foundation.
4              A      To my recollection, most of our marketing
5       expenses were either contractual or commitments,
6       meaning they were either contracts, like our TV show
7       that had a one-year contract, or they were
8       association memberships that had contracts, or they
9       were loan officer marketing expenses that were
10      either in the loan officer's contract with NAF, or,
11      at a minimum, verbal commitments on our part.                          So I
12      didn't feel like much of it was discretionary if we
13      were going to honor our word.
14      BY MR. PERLOWSKI:
15             Q      Do you recall ever having any
16      conversations with anyone at NAF about that your
17      region had certain contractual commitments that it
18      had to make and how those contractual marketing
19      commitments were going to be addressed under the new
20      policy?
21             A      I remember discussing Atlanta's Best New
22      Homes.      There were even e-mail exchanges in the
23      discovery in which we asked would they pay for that
24      since it was a contractual agreement that NAF had
25      made to the TV show, and we were told no, that

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1       either -- that we would have to pay that.                        There was
2       no "either."        We would have to pay it.
3              Q      With respect to pricing exceptions, did
4       you ever have any discussions with Ms. Allison about
5       not improving -- not approving pricing exceptions
6       after the leadership meeting or even approving fewer
7       pricing exceptions?
8              A      From what I recall, we discussed what our
9       options were on many -- you know, many levels,
10      obviously, given the difficult situation we were in.
11      And I think the conclusion that we came to was we
12      would lose business and/or lose loan officers if we
13      did not continue to approve the pricing concessions
14      as we had been.
15             Q      I just want to make sure I understand
16      something.
17                    So if a pricing exception loan was made,
18      would you still receive a bonus on that loan?
19             A      We would receive our override bonuses,
20      some of them, but then a deduction would be made to
21      our compensation for that.                 So it was almost like
22      you get it and then subtract from it.
23                    Does that make sense?
24             Q      Sure.      And I may have been just trying to
25      understand, would the deduction typically mirror the

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1       amount of the override bonus, or would -- in other
2       words, how did the deduction and the bonus relate to
3       each other?
4              A      Have you seen any of the monthly recaps?
5              Q      Yeah.      Yeah.
6              A      So it's spelled out on there.
7              Q      Okay.
8              A      I'm happy to try to explain it --
9              Q      What's your understanding?                 I can look at
10      a recap.      What's your understanding in terms of --
11      so pricing -- you decide, say, April of '19 we're
12      going to go ahead and make a loan that's, you know,
13      above the tolerance, you receive -- would the
14      deduction effectively mirror the bonus that you
15      would have received on the loan?
16                    MS. GIBSON:         Objection, form.
17             A      No.
18      BY MR. PERLOWSKI:
19             Q      Okay.
20             A      It could be less than or more than.
21             Q      Okay.
22             A      It's specific to the, you know, exact
23      amount of the concession on that loan.
24             Q      Right.
25                    So is it your understanding that NAF's

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1       policy change that it announced at the leadership
2       meeting with respect to marketing expenses, is it
3       your understanding that that policy change remained
4       in effect until March 1st of 2020?
5              A      Are you asking did the change that they
6       made in February of '19 stay in effect until March
7       of 2020?
8              Q      Yes.
9              A      The deductions stayed in place, yes.
10             Q      Until March 1st of 2020?
11             A      Yes.
12             Q      And then the new compensation model went
13      into effect on March 1st of 2020?
14             A      Yes.
15             Q      So the policy change was in place for
16      about a year?
17             A      It wasn't a policy change in writing.                       It
18      was just a deduction that they took from our pay
19      during that time period for both of those items.
20             Q      The announcement that regional marketing
21      expenses would be deducted against the region, that
22      was in place for about a year?
23             A      From February of '19 to March of '20, yes,
24      what, a year and a month.
25             Q      Leadership meeting was, like, the

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1       11th-12th of February?
2              A      Can't say for sure.               Sounds about right.
3              Q      I believe in your prior testimony, which,
4       again, will speak for itself, I thought you
5       testified that the changes that were announced were
6       pro- -- were announced effective as of March 1st.
7                     Does that ring a bell?
8              A      I don't remember the exact effective date.
9              Q      Okay.
10             A      But it's in the e-mails and all the
11      documentation.
12             Q      Yeah.      Right.
13                    And the change in the pricing exceptions
14      tolerance, that lasted -- that was in effect for
15      about a year?
16             A      Yes.
17             Q      Under -- before the leadership meeting,
18      NAF still had pricing exception tolerances in place,
19      right?
20             A      There wasn't -- there wasn't many pricing
21      exceptions that -- other than, like, they had
22      something where basically no one would get paid.
23      Like, the loan officer wouldn't get paid, the
24      manager wouldn't get paid.                 They had -- and I can't
25      remember what that was called.                    Those were the only

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1       times in which we had to participate in a pricing
2       exception prior to February of 2019.
3              Q      So tell me the circumstances in which you
4       had to participate in a pricing exception before the
5       leadership meeting.
6              A      Basically, when you submitted or approved
7       a pricing concession that was what at the time the
8       lock desk believed to be higher than they wanted to
9       do, then they would just say, hey, we can do this
10      one, but manager's not going to get paid, loan
11      officer's not going to get paid.
12             Q      Okay.      And you would then approve that
13      knowing that you wouldn't effectively be paid on
14      that loan?
15             A      I'm trying to remember how it would
16      happen.      Yeah, there would just be an e-mail
17      exchange of, you know, this is -- this is what's
18      going to happen on this loan.
19             Q      So --
20             A      There were a handful probably over --
21             Q      So for those occasions, so either you
22      could either decide not to make the loan or approve
23      it understanding that you would not be paid on that
24      loan, meaning the -- "you" being the regional
25      manager?

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1              A      Yeah, it would be for something like -- it
2       wouldn't be for a competitive situation.                        It would
3       be for loan officer error, someone made a mistake.
4       You know, it was just, like, a very big
5       exception-type situation.                There was probably a
6       handful of times it happened between November of '16
7       and February of '19.
8              Q      And in the handful of times it happened,
9       you could decide to approve it knowing you wouldn't
10      get paid on it?
11             A      It was never a situation in those
12      situations of -- that we weren't going to do it.
13             Q      Okay.      But when you did do it, you
14      understood you weren't going to get paid on that
15      loan, correct?
16             A      It was usually a situation where the loan
17      officer had either made a mistake or there was a
18      severe customer service issue, so the loan officer
19      would agree that they weren't getting paid, yes.                            I
20      don't recall us ever having to, like, approve that.
21      I remember the loan officer did.
22             Q      Okay.      So when the loan officer would
23      approve the pricing exception but you -- on the
24      regional manager side, would you be paid still --
25      would you still be paid on that loan?

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1              A      I don't think anybody would get paid --
2              Q      Okay.
3              A      -- on those rare instances.
4              Q      Okay.      Did anyone give you a specific time
5       frame as to how long NAF expected it was going to
6       take to hire a CFO?
7              A      Just that it was a top priority and within
8       90 days, I guess.
9              Q      You said it was a top priority.
10                    When you said "within 90 days," who told
11      you that NAF was going to hire a CFO within 90 days?
12             A      Rick and Patty Arvielo, Christy Bunce.
13             Q      When did Rick or Patty Arvielo tell you
14      that NAF was going to hire a CFO within 90 days?
15                    MS. GIBSON:         Objection, asked and
16      answered.
17             A      After the February -- we had a dinner
18      during the February leadership meeting.                       I remember
19      it being discussed by Rick and Patty to all of us at
20      the dinner, and then Rick and Patty also said it
21      when they came to Atlanta.
22      BY MR. PERLOWSKI:
23             Q      So at the dinner during the leadership
24      meeting, did either Rick or Patty Arvielo say that
25      NAF was going to hire a CFO within 90 days?

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1              A      I believe so.
2              Q      What specific words do you recall them
3       using?
4              A      I don't remember specific words.
5              Q      Did they say, we hope to hire a CFO within
6       90 days, we are going to hire a CFO within 90 days,
7       we're going to hire a CFO as soon as possible, it's
8       a top priority?
9              A      All those.
10             Q      And then in the Atlanta meeting, what did
11      they say with respect to the hiring of a CFO?
12             A      That they felt the solution to this
13      financial problem was to get the CFO hired, they had
14      people already interviewing, they were already
15      talking to people, and that they believed they were
16      going to be able to hire someone very, very soon.
17             Q      And they did -- and they did hire -- NAF
18      did hire a CFO within 90 days of the leadership
19      meeting?
20                    MS. GIBSON:         Objection, foundation.
21             A      I don't have his hire date.
22      BY MR. PERLOWSKI:
23             Q      Okay.      Sounds about right, generally?
24                    MS. GIBSON:         Same objection, speculation.
25             A      I don't -- yeah, speculation.                   I don't

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1       know for sure the date, but --
2       BY MR. PERLOWSKI:
3              Q      Do you recall when Mr. Frommert joined
4       NAF?
5              A      I do not.
6              Q      Did anyone tell you about how long it
7       would take NAF to develop a P&L model of
8       compensation?
9              A      No.
10             Q      Did you understand that NAF was going to
11      attempt to develop a P&L model of compensation after
12      it hired a CFO?
13                    MS. GIBSON:         Objection, speculation.
14      BY MR. PERLOWSKI:
15             Q      I'm asking for your understanding.
16             A      My recollection was the P&L plan --
17      compensation model discussion came about after Scott
18      was hired.
19             Q      Do you recall any discussion of the P&L
20      model of compensation being something that NAF
21      wanted to implement before Mr. Frommert was hired?
22             A      I can't say for sure.
23             Q      Okay.
24                    (Defendant's Exhibit 24 was marked for
25      identification.)

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1       BY MR. PERLOWSKI:
2              Q      Ms. Spearman, I'm going to show you what's
3       been marked as Exhibit 24 to your deposition, and
4       this is an e-mail exchange in February of 2019, and
5       I want to call your attention to the second page.
6       Just let me know when you're there.
7              A      You want me to read it?
8              Q      I'm going to ask you a couple questions
9       about your e-mail on February 13th of 2019 --
10             A      Okay.
11             Q      -- to Ms. Bunce, Mr. Reed, and Ms. Preslo,
12      and a copy to Ms. Allison.
13             A      Okay.
14             Q      Obviously take your time to read it as
15      need be, but I want to -- my question to you, it
16      says, "Follow-up to our meeting."
17                    That's a follow-up to the leadership
18      meeting?
19             A      I believe so.
20             Q      Okay.      And it said if you look at --
21                    MS. GIBSON:         Go ahead and take your time
22      to read the e-mail.
23      BY MR. PERLOWSKI:
24             Q      Please, as I said, take your time.
25                    My question is going to be:                  It starts

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1       with -- at the end of the first line, it says, "We
2       have spent several hours yesterday and today
3       reviewing all the information you provided in our
4       meeting along with the P&L info in Kevlar."
5                     I'm going to ask you about that.
6              A      Okay.
7              Q      So what P&L --
8                     MS. GIBSON:         Can she have just a minute to
9       finish reading it?            She's still reading.
10                    MR. PERLOWSKI:           I'm asking her a question
11      about that one sentence.
12                    MS. GIBSON:         That's fine, but she wants to
13      read it for the context.
14                    MR. PERLOWSKI:           That's fine.
15                    MS. GIBSON:         Thank you.
16             A      Okay.
17      BY MR. PERLOWSKI:
18             Q      What P&L info in Kevlar did you review
19      prior to authoring this e-mail?
20             A      From my memory, it would have been
21      something Jon provided from Kevlar.
22             Q      Do you know what Jon provided in Kevlar?
23                    MS. GIBSON:         Objection, asked and
24      answered.
25             A      I would, again, be guessing, but I think

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1       probably either two thousand eight- -- it would have
2       been Southeast P&Ls.             So I don't remember the time
3       period.
4                     MS. GIBSON:         I'll just instruct you not to
5       guess.
6                     THE WITNESS:          Okay.
7       BY MR. PERLOWSKI:
8              Q      Okay.      Well, we talked earlier, generally
9       speaking, about what you recall Mr. Reed giving you
10      at various points in time.
11             A      Uh-huh.
12             Q      We also talked generally about what you
13      may -- what you might have had access to in Kevlar.
14                    What I'm trying to understand is on
15      February 13th of 2019, you're saying to Ms. Bunce,
16      Mr. Reed, and Ms. Preslo that we have spent several
17      hours yesterday and today reviewing all the
18      information you provided in our meeting, along with
19      the P&L info in Kevlar.
20                    So you're saying that you reviewed P&L
21      info in Kevlar.          I want to try and understand what
22      P&L info in Kevlar you reviewed.
23                    Did you go into Kevlar itself and review
24      P&L information either on February 12th or
25      February 13th of 2019?

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1              A      (Sotto voce reading.)
2                     I would just be guessing.                 I know that Jon
3       provided us P&Ls.           I cannot remember if it was like,
4       you know, PDF P&Ls that were provided or going into
5       Kevlar to view a P&L.             I do not recall.
6              Q      Did Mr. --
7              A      But we definitely reviewed P&Ls.
8              Q      Did Mr. Reed provide you with P&L
9       information at the leadership meeting?
10                    MS. GIBSON:         Objection, asked and
11      answered.
12             A      I don't recall if he gave us P&Ls at the
13      meeting or after the meeting.                   But this says we
14      reviewed them, so he gave them to us either -- you
15      know, it was a two-day meeting, so --
16      BY MR. PERLOWSKI:
17             Q      Right.
18             A      -- I don't remember which day.
19             Q      Okay.      So Mr. Reed did give you something
20      at the leadership meeting.
21                    Do you recall going into Kevlar and
22      reviewing information in Kevlar as opposed to
23      reviewing information that Mr. Reed may have given
24      you?
25                    MS. GIBSON:         Objection, asked and

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1       answered.
2               A     I do not recall going into Kevlar.
3       BY MR. PERLOWSKI:
4               Q     Okay.
5                     MS. GIBSON:         Henry, we've been going a
6       little over an hour.             You want to take a quick
7       break?
8                     MR. PERLOWSKI:           Yeah, I don't have -- I
9       don't have much -- I don't have that much longer,
10      but let's take five.
11                    MS. GIBSON:         Yeah, that was my next
12      question.
13                    MR. PERLOWSKI:           That's fine.          No.    I don't
14      have that much.
15                    MS. GIBSON:         There's probably not that
16      much really left of the deposition time.                        Okay.
17                    THE VIDEOGRAPHER:              Off record at 2:10.
18                    (Recess 2:10-2:17 p.m.)
19                    THE VIDEOGRAPHER:              Back on the record at
20      2:17.
21                    (Defendant's Exhibit 25 was marked for
22      identification.)
23                    MR. PERLOWSKI:           This is going to be
24      Exhibit 25.        This was Exhibit 15 to Ms. Bunce's
25      deposition, which is why it has that.

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1       BY MR. PERLOWSKI:
2              Q      Ms. Spearman, I'm showing you what's been
3       marked as Exhibit 25 to your deposition.                        And,
4       Ms. Spearman, I'm again going to call your attention
5       to the second page of the exhibit, which is actually
6       an e-mail from Ms. Allison on March 19th of 2019 to
7       Ms. Bunce, Ms. Preslo, and Mr. Reed, and it copies
8       you and the Arvielos.
9                     And understand, take your time to take a
10      look at it, as your counsel has instructed you to.
11                    My question for you is going to be:                       Did
12      you and Ms. Allison develop this e-mail together, or
13      did she just draft it?
14             A      I don't remember.
15             Q      And, I mean, obviously, feel free to take
16      your time and look at the e-mail, but it talks
17      about, you know, the changes that were announced at
18      the leadership meeting, and Ms. Allison reflects
19      some sentiments, right, in response to those changes
20      that were being announced.
21                    And if you look towards the bottom of her
22      e-mail, see there's numbers 1, 2, 3, and 4 above the
23      "sincerely"?
24             A      Yes.
25             Q      You see that?

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1                     And then right before that, it says,
2       "Please approve the following so we can advance,"
3       and then it says 1, 2, 3, and 4.
4                     Do you know whether -- asking maybe a more
5       specific question:            Do you remember developing these
6       requests for approval of these four items with
7       Ms. Allison, or is that something she did on her
8       own?
9              A      We would have had discussions about it.
10      We were partners.           I don't remember if I was
11      involved in the drafting of the e-mail.
12             Q      And so is item number 1, is it just asking
13      for a different tolerance level on certain kinds of
14      loans?
15             A      Yes.
16             Q      Same thing with number 2, asking for a
17      different tolerance level on certain kinds of loans?
18             A      Yes.
19             Q      And the proposal in items 1 and 2 was
20      asking for different tolerance levels but with an
21      understanding that anything above those tolerance
22      levels, the region would cover out of its
23      compensation?
24             A      Are you asking me if that's --
25             Q      Yeah.

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1              A      -- what it says here?
2              Q      Yes.
3                     Was that the proposal to NAF, to change
4       the tolerance levels, but anything above the
5       tolerance levels that you and she would cover out of
6       your comp buckets?
7                     MS. GIBSON:         Objection, foundation,
8       misstates testimony.
9              A      I didn't draft the e-mail, but that's what
10      it says there.
11      BY MR. PERLOWSKI:
12             Q      Okay.      Did you -- did you approve of these
13      proposals that Ms. Allison submitted to Ms. Bunce,
14      Ms. Preslo, and Mr. Reed?
15             A      Did I approve of them; what do you mean?
16             Q      You mentioned that you and she were
17      partners and that you would have discussed them.
18             A      Yes.
19             Q      Did you agree with them?
20             A      I didn't agree with any of it.
21             Q      Okay.
22             A      I didn't agree with them not paying since
23      my initial contract, I didn't agree with them
24      cutting our pay when we were a profitable region,
25      but I believed them that they were going to get it

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1       right eventually.           And so I didn't agree with any of
2       this.
3               Q     Did you --
4               A     But we were trying to be part of the
5       solution.
6               Q     Did you -- did you authorize Ms. Allison
7       to send her -- the e-mail that she sent on
8       March 19th of 2019?
9               A     She did not need my authorization to send
10      this e-mail.
11              Q     Did you ever express any disagreement with
12      Ms. Allison's proposals as -- in her e-mail of
13      March 13th?
14                    MS. GIBSON:         Objection, form, asked and
15      answered.
16              A     We were -- as a lot of our communication
17      states, we were trying to help be part of the
18      solution.       So we didn't want this, we didn't agree
19      to it, but we were -- if it was temporary, we were
20      trying to come up with a better alternative than
21      what they had suggested -- what NAF had suggested.
22      BY MR. PERLOWSKI:
23              Q     But you -- okay.             Fair enough.
24              A     For a temporary, yeah.
25              Q     Okay.      So from whenever the marketing --

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1       the change in marketing expenses, whenever that was
2       adopted, whether it was in February of '19 or
3       March 1st of '19, through March 1st of 2020 --
4               A     Yes.
5               Q     -- you understood that if the region made
6       a marketing expense, it was going to come out of the
7       region's budget?
8                     MS. GIBSON:         Objection, form.
9               A     Yes, that's what they told us, yes.
10      BY MR. PERLOWSKI:
11              Q     Okay.      And you understood that during that
12      entire year or so period of time before March 1st of
13      2020?
14              A     I was expecting it to end every day --
15              Q     Okay.
16              A     -- because that was what they had
17      promised.
18              Q     Did anyone ever tell you that it was
19      ending as of a certain day before March 1st of 2020?
20                    MS. GIBSON:         Objection, form.
21              A     They just told us daily that they were
22      close to a solution.
23      BY MR. PERLOWSKI:
24              Q     Were you ever told that you were going to
25      be reimbursed for any of the marketing expenses that

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1       the region chose to incur?
2                     MS. GIBSON:         Objection, form, misstates
3       testimony.
4              A      Was I --
5       BY MR. PERLOWSKI:
6              Q      Okay.
7              A      -- ever informed that I would be
8       reimbursed, that's your question?
9              Q      Were you ever told that you were going to
10      be reimbursed for any marketing expenses the
11      Southeast region chose to incur after the change was
12      announced?
13             A      No.     I was just expecting it to be over --
14             Q      Okay.
15             A      -- and not deducted anymore.
16             Q      Okay.      Again, from whenever the change was
17      announced, whether it was in February of '19 or
18      whether it was adopted as of March 1st of '19, that
19      next year or so period of time, you understood that
20      if a pricing exception loan was approved outside of
21      tolerances that the region was going to take a hit
22      on that loan, correct?
23                    MS. GIBSON:         Objection, form.
24             A      Did I understand if Kelly approved a
25      concession, that it was going to come out of our

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1       pay?
2       BY MR. PERLOWSKI:
3              Q      Yes.
4              A      I guess I understood that, yeah.                     I didn't
5       agree to it.
6              Q      Right, but you understood it from
7       whenever -- February of '19 or March 1st of '19
8       until March 1st of 2020; you understood that,
9       correct?
10             A      I understood it was a temporary change
11      that just never ended even though they promised it
12      would.
13             Q      Did anyone ever tell you that it was
14      ending on a date certain before March 1st of 2020
15      with respect to pricing exceptions?
16             A      90 days.
17             Q      So after the 90 days, did you go to
18      somebody and say, hey, where's the old policy?
19                    MS. GIBSON:         Objection, form.
20             A      Weekly.
21      BY MR. PERLOWSKI:
22             Q      And what were you told?
23             A      We're working on a new plan that will be
24      better than that.
25             Q      Okay.      And no one told you in response to

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1       your weekly question that the policy was reverting
2       back to what it was before the leadership meeting,
3       correct?
4                     MS. GIBSON:         What's the question?              I'm
5       sorry, I didn't hear one in that.
6                     MR. PERLOWSKI:           Please read it back.
7                     (The record was read by the reporter as
8       follows:
9                    "Q       Okay.      And no one told you in
10             response to your weekly question that the
11             policy was reverting back to what it was before
12             the leadership meeting, correct?")
13                    MS. GIBSON:         No one told you what, is my
14      question.         I don't --
15      BY MR. PERLOWSKI:
16             Q      Did anyone tell you that the policy was
17      going back to what it was --
18                    MS. GIBSON:         Objection, asked and
19      answered.
20      BY MR. PERLOWSKI:
21             Q      -- before the leadership meeting?
22             A      There were many occasions in which they
23      said, we will go back to your contractual marketing
24      budget, yes.
25             Q      As of when?

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1                     MS. GIBSON:         Objection, asked and
2       answered.
3       BY MR. PERLOWSKI:
4              Q      You said "marketing budget."                   I was
5       talking about pricing exceptions.
6              A      Okay.      Same with that, that after the
7       90 days, it would go back to that.
8              Q      Okay.      And so when the 90 days expired --
9              A      Uh-huh.
10             Q      -- did you then go to someone and say, why
11      are pricing exceptions being deducted from our
12      compensation?
13                    MS. GIBSON:         Objection, asked and
14      answered.
15             A      They said because they were working on the
16      new comp plan, that that would all be taken care of
17      in the new comp plan.
18      BY MR. PERLOWSKI:
19             Q      Okay.      So your understanding was that the
20      change with respect to pricing exceptions was going
21      to still be in effect after the 90 days expired?
22                    MS. GIBSON:         Objection, misstates
23      testimony.
24             A      No.
25      BY MR. PERLOWSKI:

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1               Q     Okay.      So you think that there's a 90-day
2       window that this policy with respect to pricing
3       exceptions is going to be in effect.
4               A     Right.
5               Q     On the 91st day, you go -- you ask
6       someone, why is the policy change still in effect
7       or -- right?
8                     You with me so far?
9                     MS. GIBSON:         Objection, misstates
10      testimony and slightly badgering --
11                    MR. PERLOWSKI:           I haven't even talked
12      about testimony yet.             I'm trying to get an answer to
13      a question.
14                    MS. GIBSON:         Well, you're saying on the
15      91st day, and I think her testimony, if you want her
16      to read it back, is that --
17                    MR. PERLOWSKI:           Please stop speaking for
18      the witness.        You can object.             Stop speaking for the
19      witness.      You're instructing the witness.
20                    MS. GIBSON:         I am not instructing her.
21                    MR. PERLOWSKI:           It's a speaking objection.
22      Stop.
23                    MS. GIBSON:         Hey, Henry, don't tell me to
24      stop.
25      BY MR. PERLOWSKI:

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1              Q      Okay.      We are going to do this.                You're
2       going to answer my question.
3                     So the 90 days expires --
4                     MS. GIBSON:          Give me an opportunity to
5       object.
6                     Go ahead.
7       BY MR. PERLOWSKI:
8              Q      So the 90 days expires.                  The policy change
9       with respect to pricing exceptions is still in
10      effect after 90 days, correct?
11                    MS. GIBSON:          Objection, asked and
12      answered.
13      BY MR. PERLOWSKI:
14             Q      Correct?
15             A      They continued to make the deductions.
16             Q      Okay.      When you -- you asked somebody --
17      did you ask somebody why they were continuing to
18      make the deductions after 90 days had expired?
19                    MS. GIBSON:          Objection, asked and
20      answered.
21             A      Yes.      We had weekly calls with --
22      BY MR. PERLOWSKI:
23             Q      Okay.
24             A      Uh-huh.       Yes.
25             Q      And you were told they were working on it?

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1              A      Yes.
2              Q      That it was going to be addressed in what?
3              A      They were working towards a P&L-based
4       compensation, and the budget would be reinstated
5       with that plan.
6              Q      So the budget -- so the pricing
7       exceptions, tolerances would be reinstated when the
8       new P&L model was in effect?
9              A      Yes.
10             Q      Okay.      So you understood after the 90 days
11      expired that the pricing exceptions change would
12      remain in effect until the P&L model was
13      developed --
14                    MS. GIBSON:         Objection, form.
15      BY MR. PERLOWSKI:
16             Q      -- and implemented?
17                    MS. GIBSON:         Objection, form, asked and
18      answered.
19             A      No, it was one -- it was a situation,
20      Henry, where every week it was, we're working on it;
21      we're going to reinstate it.                  And then it was, let's
22      work on this P&L and get it implemented as soon as
23      possible.
24                    So it was just an always, oh, we're just a
25      few weeks away from -- from reinstating it.

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1       BY MR. PERLOWSKI:
2               Q     Okay.      So they're telling you you're a few
3       weeks away from reinstating it, and they would
4       reinstate it as of when?
5               A     I don't know.
6                     MS. GIBSON:         Objection, asked and
7       answered.
8               A     I don't know.           I mean --
9       BY MR. PERLOWSKI:
10              Q     Okay.
11              A     -- you'd have to ask them what -- when
12      they were going to do it.
13              Q     I'm asking what your understanding was.
14              A     And I told you.
15                    MS. GIBSON:         I think she's testified.                Her
16      understanding may not be what you like, but she has
17      given you her understanding.
18                    And you have about 17 or less minutes.
19      You actually expired the time, but you said --
20                    MR. PERLOWSKI:           If you want to take that
21      up with the Court, you're more than happy to do
22      that.
23                    MS. GIBSON:         Yeah, I will.
24                    MR. PERLOWSKI:           I'm sure you will.
25      BY MR. PERLOWSKI:

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1              Q      And you were never told you were going to
2       be reimbursed for any pricing exception reductions
3       in your compensation, correct?
4                     MS. GIBSON:         Objection, asked and
5       answered.
6              A      I don't recall discussing reimbursement.
7       Just, again, when it started out, it was a very
8       short period of time we thought it was going to
9       happen, so reimbursement wasn't discussed.
10      BY MR. PERLOWSKI:
11             Q      So why does paragraph 123 of your second
12      amended complaint say, "all while believing she
13      would ultimately reimbursed for these expenditures"?
14                    MS. GIBSON:         What's the question?
15      BY MR. PERLOWSKI:
16             Q      So why does paragraph 123 of your second
17      amended complaint say that you believed you would
18      ultimately be reimbursed for these expenditures?
19                    MS. GIBSON:         I think the document speaks
20      for itself.        I think there's --
21                    MR. PERLOWSKI:           I didn't ask -- you're not
22      testifying, Ms. Gibson.
23                    MS. GIBSON:         Objection.
24                    MR. PERLOWSKI:           I'm asking Ms. Spearman
25      why her second amended complaint says, contrary to

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1       her testimony today, while -- "all while believing
2       she would ultimately be reimbursed for these
3       expenditures."
4       BY MR. PERLOWSKI:
5               Q     Why does it say that?
6                     MS. GIBSON:         Objection, misstates
7       testimony, asking her questions about a legal
8       document about which she does not -- has not -- does
9       not have the legal expertise to respond to.                         And
10      you've asked and answered that question over and
11      over.
12              A     Yeah, I just believed that -- I believed
13      them, and I believed that we were going to get to a
14      resolution quickly --
15      BY MR. PERLOWSKI:
16              Q     Right.
17              A     -- and that just didn't happen.
18              Q     But no one ever told you that you were
19      ultimately going to be reimbursed for any marketing
20      expense and pricing exception expenditure?
21              A     I didn't think that it would go on long
22      enough.
23              Q     That wasn't my question.
24                    MS. GIBSON:         Objection, form, misstates
25      testimony.

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1       BY MR. PERLOWSKI:
2               Q     Paragraph 123, Ms. Spearman, says that you
3       expended personal funds on marketing expenses and
4       pricing exceptions, "all while believing she would
5       ultimately be reimbursed for those expenditures."
6                     What supports that belief that you were
7       ultimately going to be reimbursed for these
8       expenditures?
9                     MS. GIBSON:         Objection, asked and
10      answered.
11              A     I believed that they weren't going to
12      deduct them anymore.
13      BY MR. PERLOWSKI:
14              Q     Okay.      Pro- -- as of a certain point, the
15      deductions would stop, that's what you believed,
16      right?
17                    MS. GIBSON:         Objection, asked and
18      answered.
19      BY MR. PERLOWSKI:
20              Q     Did you answer the question, Ms. Spearman?
21              A     When it started in February, I believed
22      that it was for a period of 90 days and that we
23      would go back to having our marketing budget of
24      7 and a half bps.           I believed them when they told me
25      that.

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1                     MR. PERLOWSKI:           Just give me five minutes.
2                     THE VIDEOGRAPHER:              Off the record at 2:33.
3                     (Recess 2:33-2:36 p.m.)
4                     THE VIDEOGRAPHER:              Back on the record at
5       2:36.
6       BY MR. PERLOWSKI:
7               Q     Ms. Spearman, this document was already
8       marked as an exhibit to your deposition as
9       Exhibit 5.       And I want to go ahead and ask you --
10      this is -- the questions I'm going to ask you,
11      Ms. Spearman, are about your e-mail of March 19th of
12      2019, which is the first page of the document.                           Feel
13      free to take your time --
14              A     Okay.
15              Q     -- to skim through it.
16                    Ms. Spearman, I'm going to ask you my
17      first question, but again, feel free --
18              A     Okay.
19              Q     -- to take your time to look through it.
20                    My first question is going to be:                     If you
21      look at the second-to-last sentence of your e-mail
22      that says, "It now appears we have a solid
23      go-forward plan, and we're looking forward to
24      getting back to work on growing the Southeast," my
25      question is going to be about that, about what the

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1       solid go-forward plan was.
2                     Again, take your time.                   For the record, my
3       question is:        I want to -- if you could please
4       explain what the solid go-forward plan was, to your
5       understanding.
6              A      Okay.      I'm trying to determine which
7       go-forward, quote/unquote, plan it was.                       All of
8       these discussions back and forth in the e-mails were
9       about what would be the go-forward plan for the next
10      90 days as we help to rightsize the company.                          So I
11      don't know exactly which e-mail I'm referring to
12      there.
13                    I'm just trying to see if it was...
14             Q      And, again, take your time.
15             A      I can't be certain what we were --
16      which -- if you're going to ask me specifics, I
17      can't be certain.
18                    What I know that to mean is that we were
19      trying to be part of the solution, and so the
20      directive that we had been given, we decided to say,
21      okay, for 90 days, if that's what you need to
22      rightsize the company, I guess that's the go-forward
23      that was being referred to.
24             Q      You would agree with me 90 days isn't
25      referenced in your e-mail, right?

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1              A      It's not referenced in that sentence.
2              Q      What is -- what is WA PE?
3              A      Where do you see that?
4              Q      It's in a number of places in your e-mail,
5       talking -- appears to be a recap in the bullet
6       points.      So there's a bullet points recap --
7              A      Uh-huh.
8              Q      -- and it talks about you manage to a WA
9       PE of 22 bps with a PE tolerance of 200 bps.                          And
10      then --
11             A      Yes, weighted average.
12             Q      Okay.      So is it fair to say that by virtue
13      of this -- the e-mails -- this e-mail that we're
14      looking at, that you and Ms. Allison had proposed a
15      different interim solution but that that interim
16      solution that was proposed was rejected?
17             A      There were several interim solutions that
18      were discussed back and forth.
19             Q      And were any of the interim solutions
20      accepted by NAF?
21             A      I'm not sure what you mean by "accepted."
22             Q      Were any of the changes that you and/or
23      Ms. Allison had proposed, were any of them adopted
24      by NAF after the leadership meeting?
25             A      There was never an amendment or change to

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1       our agreement, so I don't know that either side
2       really ever approved anything.
3              Q      What I'm saying, Ms. -- changes were
4       announced by NAF with respect to pricing exceptions
5       and marketing expenses.               You and Ms. Allison --
6       and/or Ms. Allison may have proposed different
7       changes, like, okay, instead of doing it this way,
8       we propose doing it a different way.
9              A      Yes.
10             Q      Did any of the proposals that you and she
11      made, did any of those take --
12                    MS. GIBSON:         Objection, form, asked and
13      answered -- sorry.
14      BY MR. PERLOWSKI:
15             Q      -- where they were adopted by NAF after
16      you made the alternative proposal?
17                    MS. GIBSON:         Objection, form, asked and
18      answered.
19             A      It was pretty convoluted, so I don't know
20      that one set proposal was ever adopted or accepted.
21      BY MR. PERLOWSKI:
22             Q      Okay.      I don't think I have any other
23      questions, Ms. Spearman.
24                    MS. GIBSON:         That concludes the
25      deposition.

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1                     THE VIDEOGRAPHER:              We're off the record at
2       2:43.
3                     (Deposition concluded at 2:43 p.m.)
4                     (Signature reserved.)
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1            The following reporter and firm disclosures
        were presented by me at this proceeding for review
2       by counsel:
3                      REPORTER DISCLOSURES
4                 The following representations and
        disclosures are made in compliance with Georgia Law,
5       more specifically:
                  Article 10 (B) of the Rules and
6       Regulations of the Board of Court Reporting
        (disclosure forms)
7                 OCGA Section 9-11-28 (c) (disqualification
        of reporter for financial interest)
8                 OCGA Sections 15-14-37 (a) and (b)
        (prohibitions against contracts except on a
 9      case-by-case basis).
10      - I am a certified court reporter in the State of
        Georgia.
11      - I am a subcontractor for Veritext.
        - I have been assigned to make a complete and
12      accurate record of these proceedings.
        - I have no relationship of interest in the matter
13      on which I am about to report which would disqualify
        me from making a verbatim record or maintaining my
14      obligation of impartiality in compliance with the
        Code of Professional Ethics.
15      - I have no direct contract with any party in this
        action, and my compensation is determined solely by
16      the terms of my subcontractor agreement.
17
18                        FIRM DISCLOSURES
19      - Veritext was contacted to provide reporting
        services by the noticing or taking attorney in this
20      matter.
        - There is no agreement in place that is prohibited
21      by OCGA 15-14-37 (a) and (b). Any case-specific
        discounts are automatically applied to all parties,
22      at such time as any party receives a discount.
        - Transcripts: The transcript of this proceeding as
23      produced will be a true, correct, and complete
        record of the colloquies, questions, and answers as
24      submitted by the certified court reporter.
        - Exhibits: No changes will be made to the exhibits
25      as submitted by the reporter, attorneys, or
        witnesses.

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1       - Password-Protected Access:                       Transcripts and
        exhibits relating to this proceeding will be
2       uploaded to a password-protected repository, to
        which all ordering parties will have access.
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1                                     CERTIFICATE
2       STATE OF GEORGIA:
        COUNTY OF FULTON:
3
4                 I hereby certify that the foregoing
        transcript was taken down, as stated in the caption,
5       and the colloquies, questions and answers were
        reduced to typewriting under my direction; that the
6       transcript is a true and correct record of the
        evidence given upon said proceeding.
7                 I further certify that I am not a relative
        or employee or attorney of any party, nor am I
8       financially interested in the outcome of this
        action.
9                 I have no relationship of interest in this
        matter which would disqualify me from maintaining my
10      obligation of impartiality in compliance with the
        Code of Professional Ethics.
11                I have no direct contract with any party
        in this action and my compensation is based solely
12      on the terms of my subcontractor agreement.
                  Nothing in the arrangements made for this
13      proceeding impacts my absolute commitment to serve
        all parties as an impartial officer of the court.
14
15                    This the 4th day of April, 2022.
16
17                   <%13609,Signature%>
18                     _________________________________________
19                     ROBYN BOSWORTH, RPR, CRR, CRC, CCR-B-2138
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1       To: MaryBeth Gibson, Esq.
2       Re: Signature of Deponent Gina Spearman
3       Date Errata due back at our offices: 30 days
4
5       Greetings:
6       This deposition has been requested for read and sign
        by the deponent. It is the deponent's
7       responsibility to review the transcript, noting any
        changes or corrections on the attached PDF Errata.
8       The deponent may fill out the Errata electronically
        or print and fill out manually.
9
        Once the Errata is signed by the deponent and
10      notarized, please mail it to the offices of Veritext
        (below).
11
        When the signed Errata is returned to us, we will
12      seal and forward to the taking attorney to file with
        the original transcript. We will also send copies
13      of the Errata to all ordering parties.
14      If the signed Errata is not returned within the time
        above, the original transcript may be filed with the
15      court without the signature of the deponent.
16
17      Please send completed Errata to:
18      Veritext Production Facility
19      20 Mansell Court, Suite 300
20      Roswell, GA 30076
21      (770) 343-9696
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1       ERRATA for ASSIGNMENT #
2       I, the undersigned, do hereby certify that I have
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3
4       ___ There are no changes noted.
5       ___ The following changes are noted:
6
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7       Civil Procedure and/or OCGA 9-11-30(e), any changes
        in form or substance which you desire to make to
8       your testimony shall be entered upon the deposition
        with a statement of the reasons given for making
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               Federal Rules of Civil Procedure

                               Rule 30



  (e) Review By the Witness; Changes.

  (1) Review; Statement of Changes. On request by the

  deponent or a party before the deposition is

  completed, the deponent must be allowed 30 days

  after being notified by the officer that the

  transcript or recording is available in which:

  (A) to review the transcript or recording; and

  (B) if there are changes in form or substance, to

  sign a statement listing the changes and the

  reasons for making them.

  (2) Changes Indicated in the Officer's Certificate.

  The officer must note in the certificate prescribed

  by Rule 30(f)(1) whether a review was requested

  and, if so, must attach any changes the deponent

  makes during the 30-day period.




  DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

  ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

  THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

  2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

  OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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